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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



United States of America,                           Crim. No. 08-395 (RHK/JJG)

               Plaintiff,
                                                              ............
v.                                                   REPORT AND RECOMMENDATION

Chris Bronner (01), Fredrick Deshawn
Holmes (03), Kenneth Dwayne Hudson
(04), Lawrence Darryl Porter (06),
Donald Scott Schultz (08), Michael
Donjuarel Scott (09), and Courtney
Tiandre Totten (12),

               Defendants.


JEANNE J. GRAHAM, United States Magistrate Judge

       The above-captioned case came before the undersigned on April 2 and May 5, 2009, for

pretrial motion hearings. This case is scheduled to be tried before the Honorable Richard H.

Kyle and was referred to this Court for resolution of pretrial matters pursuant to 28 U.S.C. § 636

and District of Minnesota Local Rule 72.1. The Court will address the dispositive motions of

Defendants Chris Bronner (“Chris Bronner”), Fredrick Holmes (“Holmes”), Kenneth Hudson

(“Hudson”), Lawrence Porter (“Porter”), Donald Schultz (“Schultz”), Michael Scott (“Scott”),

and Courtney Totten (“Totten”) in this Report and Recommendation.1

I.     PROCEDURAL HISTORY

       The procedural history of this case is convoluted. The Court held the first pretrial motion



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        Defendants Antoine Killing and Demone Smith also have dispositive motions pending.
The hearings on Killing’s motions occurred on May 5 and May 14, 2009, and the parties are
currently engaged in post-hearing briefing. The hearing on Smith’s motions is scheduled for
June 23, 2009. The Court will issue a separate Report and Recommendation on those motions.
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hearing in this case on April 2, 2009, on the pretrial motions of Chris Bronner, Holmes, Hudson,

Porter, Schultz, Scott, and Totten. At the beginning of that hearing, Chris Bronner, Hudson, and

Schultz orally withdrew their dispositive motions. One of the motions Schultz withdrew was a

motion to suppress evidence seized during a warrantless vehicle search.

       A few weeks later, while the parties were engaged in post-hearing briefing on other

motions, the United States Supreme Court announced its decision in Arizona v. Gant, 129 S. Ct.

1710 (2009). Schultz immediately moved to renew his motion to suppress evidence, based on

Gant. The Government did not object to the renewal of the motion and said another evidentiary

hearing would be necessary to develop a complete record. The Court set that evidentiary hearing

for May 5, 2009, when Holmes’ motions were scheduled to be heard.

       Meanwhile, Scott filed two additional motions: a motion to dismiss the indictment on

April 21, 2009; and a motion to suppress evidence, also based on Gant, on April 24, 2009. The

Court scheduled those motions for a hearing on May 5, 2009 as well.

       At the May 5th hearing, the Court received additional testimony on the traffic stop and

search of Schultz’s vehicle. No testimony was presented on Holmes’ dispositive motions, and

his counsel characterized those motions as moot.

       The contested motions presently under consideration are Porter’s Motion to Suppress

Electronic Surveillance Evidence (Doc. No. 143); Schultz’s Motion to Suppress Evidence as a

Result of a Warrantless Vehicle Search (Doc. No. 199); Scott’s Motion to Suppress Evidence

Based on a Rule 5(a) Violation (Doc. No. 147);2 Scott’s Motion to Suppress Statements,


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        Scott filed a pro se motion for release from custody (Doc. No. 140), which asserts the
same grounds as his motion to dismiss the indictment and motion to suppress for a Rule 5(a)
violation, which his counsel filed. The disposition of the pro se motion will correspond with that
of the other two motions.

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Admissions, and Answers (Doc. No. 150); Scott’s Motion to Dismiss the Indictment (Doc. No.

255); and Scott’s Motion to Suppress Evidence (Doc. No. 262).

II.     Porter’s Motion to Suppress Electronic Surveillance Evidence

        Defendant Lawrence Porter filed a motion to suppress electronic surveillance evidence.

Based on the Government’s response that no such evidence exists, the motion should be denied

as moot.

III.    Scott’s Motion to Suppress Based on Rule 5(a)

        Scott was indicted in the District of Minnesota on December 16, 2008, with Conspiracy

to Distribute Cocaine and Cocaine Base (“crack”), and with Distribution of Crack. A warrant

was issued for his arrest, and he was arrested on January 6, 2009 in Wisconsin, where he was in

custody on state charges. Scott made his initial appearance the next day before United States

Magistrate Judge Stephen L. Crocker in the Western District of Wisconsin. A public defender

appeared with Scott, acknowledged receipt of the indictment, said she had discussed the charges

with Scott, and waived a reading of the indictment. Scott also waived his right to a detention

hearing, implicitly conceding detention was inevitable. Not only had Scott previously been

unable to make bail on the Wisconsin state charges, but he also had a pending extradition to

Michigan on a homicide charge.

        On January 13, 2009, Scott was transported to Minnesota and placed at the Sherburne

County Jail. Due to a mistake by the United States Marshals Office, the United States Attorney’s

Office (“USAO”) in Minnesota was not notified of his arrival. When the USAO learned that

Scott had arrived in Minnesota, he was immediately scheduled for an appearance before United

States Magistrate Judge Franklin Noel on February 23, 2009.          A detention hearing and

arraignment followed on February 25, 2009. Scott now argues that certain evidence should be

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suppressed pursuant to Federal Rule of Criminal Procedure 5(a) because he was held in the

Sherburne County Jail for forty-one days before he appeared before a magistrate judge in this

District.

        Rule 5(a)(1)(A) requires a person to be brought before a magistrate judge “without

unnecessary delay” for an initial appearance. When the individual is arrested outside the district

in which the offense allegedly occurred, the first appearance may be either in the district of arrest

or in an adjacent district under certain circumstances. Fed. R. Crim. P. 5(c)(2). Here, Scott

made his initial appearance before a magistrate judge in the Western District of Wisconsin, the

district in which he was arrested, on the day after he was arrested. There was no unnecessary

delay or other impropriety related to his initial appearance, and thus, no violation of Rule 5.

        In addition to Rule 5(a), Scott also challenges his detention under Corley v. United

States, 129 S. Ct. 1558, 1565-66 (2009). In Corley, law enforcement agents intentionally

delayed a defendant’s initial appearance in order to continue an interrogation. Here, however,

there is simply no evidence of any delay, intentional or otherwise, between Scott’s arrest and his

appearance before Magistrate Judge Crocker. Nor was there any interrogation between those

two events, or between his arrest and appearance before Magistrate Judge Noel. Consequently,

Corley does not apply.

IV.     Scott’s Motion to Dismiss the Indictment

        Scott also seeks dismissal of the charges against him based on the forty-one day period

between his initial appearance in Wisconsin and his arraignment in Minnesota. He alleges that

he was entitled to a judicial determination of probable cause by a magistrate judge before a

prolonged confinement, citing Gerstein v. Pugh, 420 U.S. 103 (1973). Scott’s reliance on

Gerstein is misplaced, however, because he was charged by indictment, not a criminal

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complaint, and thus he was not entitled to a preliminary hearing to determine probable cause.

See Fed. R. Crim. P. 5.1(a)(2).

V.      Schultz’s Motion to Suppress Evidence and Scott’s Motions to Suppress Statements

        and Evidence

       Schultz and Scott move to suppress evidence seized from Schultz’s truck during a traffic

stop on February 7, 2008. Scott also moves to suppress statements he made to sheriff’s deputies

during the stop. The facts related to these motions were presented at the hearings on April 2 and

May 5, 2009. The following factual summary combines the relevant facts adduced at those two

hearings.

       A.      Facts

       Deputy Bren Derringer has worked for the Wood County Sheriff’s Department for three

years, two of those as a patrol deputy. He has about eight total years experience as a law

enforcement officer. In the past year, Deputy Derringer has conducted approximately 400 traffic

stops, and between 2,500 and 3,000 traffic stops during his law enforcement career.

       On February 7, 2008, at about 6:00 p.m., Deputy Derringer was routinely patrolling

Highway 10 near Marshfield, Wisconsin, when he noticed expired license plate tabs on an older

model Chevrolet truck driving in front of him.         He entered the license plate number and

registration information into his squad car computer and followed the truck. As he waited for a

response from the state vehicle registration database, he saw the truck cross over the yellow

centerline three times. Operating a vehicle “left of center” is a traffic violation under Wisconsin

law. Minutes later, Deputy Derringer learned that the truck’s registration had expired on January

31, 2008, about a week earlier. He decided to stop the vehicle and activated his emergency

lights. The driver of the truck activated the right blinker and pulled over to the right-hand side of

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the road.

         As Deputy Derringer walked toward the driver’s side of the truck, he saw three people

inside: the driver, later identified as Schultz; a person sitting in the front passenger seat, later

identified as Kelvin Bronner (“Bronner”); and a third person lying on the backseat, later

identified as Scott, who sat up as Deputy Derringer approached. Deputy Derringer spoke first

with Schultz, who produced his driver’s license. Schultz told the deputy he was a plumber and

had been working in Eau Claire earlier that day. Deputy Derringer shined his flashlight in the

truck, but did not see any plumbing tools. He mentioned this to Schultz, and Schultz explained

he had not actually been working as a plumber, but had attended a plumbing conference at a

Menards store in Eau Claire. Deputy Derringer doubted this, as Schultz’s clothes and hair were

very dirty and ungroomed, not the sort of appearance the deputy would expect at a professional

conference. Deputy Derringer thus questioned Schultz further on this point, asking if vendors

were present or products were displayed. Schultz said no, that the conference was about building

codes.

         Deputy Derringer then turned his attention to the two passengers, who appeared much

cleaner and more well-dressed than Schultz, and asked if they were Schultz’s employees. The

back seat passenger, Scott, slid to the far side of the seat and did not respond. The front seat

passenger, Bronner, told Deputy Derringer he had decided to go for a ride with Schultz because

he had nothing else to do that day, and he produced a Michigan identification card upon request.

Scott did not respond when Deputy Derringer initially asked him to identify himself. When

asked a second time, he gave the name “Calvin Rich.”            Scott said he did not have any

identification with him, but he did provide a date of birth. Scott explained to Deputy Derringer

that he had gone with Schultz to attend the conference, but later said he had actually waited at a

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friend’s house until the conference ended. Scott changed his story again a few minutes later and

said he had been staying at the friend’s house before the conference, but needed to go to Stevens

Point, Wisconsin, and asked Schultz for a ride.

       Deputy Derringer returned to his squad car to enter the identification information of the

three men. He learned that Schultz’s driver’s license had been revoked, but no information was

returned for Scott or Bronner. In Deputy Derringer’s experience, this typically means the

information was false or entered incorrectly; occasionally, it means the person has never had an

identification card. Deputy Derringer then contacted Deputy Robert Beathard to assist with the

stop. While Deputy Derringer waited, he checked with his dispatch center, which had also been

unable to find any information on “Calvin Rich.”

       Deputy Beathard has worked for the Wood County Sheriff’s Department for more than

eight years and has conducted numerous drug investigations in the context of traffic stops. He is

personally involved in 300 to 400 traffic stops a year. When Deputy Beathard arrived at the

scene of the traffic stop, Deputy Derringer told him that Schultz would be arrested for driving

with a revoked license. He also said that the three men were telling inconsistent and implausible

stories. Deputy Beathard confirmed with Scott and Bronner the identification information they

had previously given Deputy Derringer, and Scott specifically told Deputy Beathard that he had

a valid Michigan identification card but not with him. If an individual has an identification card,

there would be information on file.

       Deputy Derringer asked Schultz to step out of the truck and walked with him to an area

between the truck and a patrol car. Schultz explained that Scott and Bronner were keeping him

company on the drive. He admitted, however, that he did not know Bronner well and did not

know Scott at all. At first, Schultz was polite and cooperative, but his demeanor noticeably

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changed when the deputies told him they were going to search his truck. Deputy Derringer

arrested Schultz for operating a vehicle after revocation and placed him in a patrol car.

       After Schultz was arrested, the deputies continued to attempt to confirm the real identities

of the two passengers. They wanted to know not only who the two men were, but also whether

Scott or Bronner could drive the truck from the scene, with Schultz’s permission.

       Deputy Beathard asked Bronner to exit the vehicle. When asked again about the day’s

events, Bronner said he had decided to accompany Schultz because he was interested in working

for Schultz’s plumbing company. Deputy Beathard said the story was highly unlikely, and

Bronner exhaled, dropped his head, and seemed overly nervous. Deputy Beathard explained to

Bronner that the truck would be searched incident to Schultz’s arrest, and that Bronner would

have to sit in a patrol car during the search to ensure the deputies’ safety. At this, Bronner’s legs

began shaking. Deputy Beathard searched Bronner with his consent and placed him in a patrol

car.

       The deputies next asked Scott to step out of the truck, which he did. The deputies

explained to Scott that they were going to search the truck, due to Schultz’s arrest, but first

wanted to hear Scott’s account of the day’s events. Deputy Beathard decided to test Scott’s story

and offered some false details supposedly given by the other two men. Scott agreed with all of

the false information.

       Deputy Beathard stepped away from the conversation to search the truck. At the first

motion hearing, he testified that the truck was searched incident to Schultz’s arrest. At the

second motion hearing, he testified to the existence of numerous indicators of drug possession,

about which he has learned through years of training and experience with highway drug

interdiction. These indicators were (1) Schultz’s activation of the right blinker, which indicated

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he was attempting to appear as safe as possible; (2) the inconsistent and implausible information

given by Schultz, Bronner, and Scott, which appeared to be a cover story; (3) the direction of

travel from a drug source city, Minneapolis/St. Paul, to a smaller community, Marshfield; (4) a

two-liter bottle of Coca-Cola, an open bag of chips, and “several munchy type foods,” indicative

of a long trip; (5) the disparities in age and appearance between Schultz and his two passengers;

(6) Schultz’s dirty and disheveled appearance, which was incompatible with his claimed

attendance at a professional conference; (7) the lack of any valid, noncriminal reason for the

three men to be traveling together; (8) the drastic change in Schultz’s demeanor when he was

told of the search, which often signifies the possession of contraband; and (9) Bronner’s

excessively nervous behavior. Based on these indicators, Deputy Beathard believed that the

three men possessed a large quantity of drugs and that Schultz was being used as a courier.

        Not long after he commenced the search, Deputy Beathard found two ounces of crack

cocaine hidden in the dash of the truck. He told Deputy Derringer to place Scott into custody.

        B.     Scott’s Motion to Suppress Evidence

        Scott argues that he is entitled to challenge the constitutionality of the traffic stop, as a

passenger in Schultz’s car, pursuant to Brendlin v. California, 551 U.S. 249, 127 S. Ct. 2400

(2007). In Brendlin, the Supreme Court determined that a passenger in an automobile has the

same standing as the driver to challenge the legality of the stop. Id. at 2406. The Court reasoned

that because no reasonable passenger would believe he or she could leave the scene of a traffic

stop without permission, the passenger is “seized” under the Fourth Amendment. Id. at 2406-07.

This gives the passenger standing to challenge the legality of the stop as well as his or her own

detention. See id. at 2407. Accordingly, Scott may challenge the constitutionality of the traffic

stop.

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        There is no real dispute that the initial traffic stop was lawful. When a law enforcement

officer observes even a minor traffic violation, he has probable cause to stop the vehicle. United

States v. Cummins, 920 F.2d 498, 500 (8th Cir. 1990). Deputy Derringer could have stopped the

truck for either the expired registration tabs or the traffic violations.

        What Scott is really asking the Court to do is to apply Brendlin not just to the initial

traffic stop, but also to the subsequent search of the truck. Brendlin does not extend this far.

Brendlin established only that a passenger can challenge the constitutionality of the initial traffic

stop. It did not grant passengers a reasonable expectation of privacy in the vehicle of another so

as to permit a challenge to a subsequent search of a vehicle that was lawfully stopped. In this

respect, Brendlin did not abrogate Rakas v. Illinois, 439 U.S. 128 (1978), as Scott implies. Even

after Brendlin, a passenger must have “a legitimate expectation of privacy in the particular areas

of the automobile searched” before he may challenge the validity of the search, Rakas, 439 U.S.

at 148. Cf. United States v. Green, 275 F.3d 694, 699 (8th Cir. 2001) (deciding pre-Brendlin that

a passenger could challenge the lawfulness of his or her own detention resulting from a traffic

stop, but that a passenger’s standing to challenge the lawfulness of a traffic stop does not equate

to a reasonable expectation of privacy in the vehicle that was stopped). Because Scott has no

reasonable expectation of privacy in Schultz’s truck, he may not challenge the constitutionality

of the search.

        C.       Scott’s Motion to Suppress Statements

        Scott seeks to suppress the statements he made to Deputy Derringer and Deputy

Beathard. The Government argues that Scott was not in custody when he made the statements,

and thus no Miranda warning was required.

        The Fifth Amendment privilege against self-incrimination requires a police officer to

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advise a person of his Miranda rights before interrogating him in a custodial setting. Illinois v.

Perkins, 496 U.S. 292, 297 (1992). No Miranda warning is required before questioning a person

detained in an investigatory stop made pursuant to Terry v. Ohio, 392 U.S. 1 (1968). United

States v. McGauley, 786 F.2d 888, 890 (8th Cir. 1986). During a Terry stop, an officer may ask

the driver for his or her license, as well as the driver’s destination and reason for being in the

area. United States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998); United States v. Johnson, 58

F.3d 356, 357 (8th Cir. 1995) (quoting United States v. Bloomfield, 40 F.3d 910, 915 (8th Cir.

1994)). An officer may also ask routine questions of any passengers in the vehicle to verify the

driver’s information. Johnson, 58 F.3d at 357 (8th Cir. 1995); see also Cummins, 920 F.2d at

502.

        In the instant case, Deputy Derringer asked Schultz routine questions such as his purpose

for being in the area and his destination. Schultz originally answered that he had been working

as a plumber in Eau Claire, but when Deputy Derringer noted the absence of any plumbing tools

in the truck, Schultz changed his answer and said he had been at a plumbing conference all day.

Deputy Derringer found the inconsistent explanations suspicious.        In addition, he thought

Schultz’s dirty and disheveled appearance was inconsistent with his claim to have been at a

professional conference. Deputy Derringer therefore asked Schultz’s passengers questions to

verify Schultz’s information, which was entirely appropriate. See Cummins, 920 F.2d at 502.

Scott’s subsequent description of the day’s events and how he came to be riding in Schultz’s

truck not only differed from Schultz’s version, but was also internally inconsistent. “[I]f the

responses of the detainee and the circumstances give rise to suspicions unrelated to the traffic

offense, an officer may broaden his inquiry and satisfy those suspicions.” United States v.

Barahona, 990 F.2d 412, 416 (8th Cir. 1993). Deputy Derringer was therefore justified in

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continuing to detain the three men while broadening his investigation further.

        Deputy Derringer’s request for Scott to identify himself did not transform the

investigation into a seizure, even though it was not related to the traffic offense. See United

States v. Slater, 411 F.3d 1003, 1004-06 (8th Cir. 2005). There is no evidence that Deputy

Derringer gave an authoritative order or conveyed the message that Scott had to comply. The

deputy’s gun was not drawn; he was the only officer present; and he did not physically touch

Scott. See United States v. Pulliam, 265 F.3d 736, 741 (8th Cir. 2001) (citation omitted).

       When Deputy Derringer entered the identification information of the three men into a law

enforcement database, he learned that Schultz’s driver’s license had been revoked and that there

was no information on file for “Calvin Rich” or Bronner. This led Deputy Derringer to suspect

that the information given by Bronner and Scott could be false, which in turn, further increased

his suspicion that criminal activity could be afoot. See United States v. Sanchez, 417 F.3d 971,

973-74 (8th Cir. 2005). “Police officers are not required to ignore their reasonable suspicions.

Rather, they are permitted ‘to graduate their responses to the demands of any particular

situation.’” United States v. Pereira-Munoz, 59 F.3d 788, 791 (8th Cir. 1995) (quoting United

States v. Place, 462 U.S. 696, 710 n.10 (1983)). Adapting his response to the evolving situation,

Deputy Derringer decided to call Deputy Beathard to assist.

       Deputy Beathard arrived a few minutes later and spoke with Schultz and Bronner before

speaking with Scott. Schultz and Bronner both changed their stories slightly from before. In

addition, when Schultz was told of the impending arrest and search, his demeanor changed. As

for Bronner, he appeared overly nervous, and he became even more nervous after learning that

Schultz’s truck would be searched. Scott was questioned last. He specifically told Deputy

Beathard that he had a valid Michigan identification card, which conflicted with the “not on file”

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information Deputy Derringer had obtained from the police database. When a person claims to

have a valid identification card, but a search for an individual’s given name yields no results, this

creates a reasonable suspicion that the person gave a false name, which is a violation of

Minnesota law. See United States v. Cloud, Crim. No. 06-316 (JRT/RLE), 2007 WL 128939, at

*3 (D. Minn. Jan. 16, 2007). It was therefore appropriate for the deputies to expand their

investigation to ascertain Scott’s identity. See id. It was also permissible for the deputies to

learn whether Scott possessed a valid driver’s license so that he could drive Schultz’s truck, if

authorized by Schultz, from the scene. See id. at *12.

       The deputies next asked Scott to exit the truck, which he willingly did, so that they could

ask him additional questions concerning his purpose, destination, and identity. These questions

related to the properly broadened investigation and the deputies’ reasonable suspicion that

criminal activity might be underway. See United States v. Beatty, 170 F.3d 811, 812 (8th Cir.

1999); Maryland v. Wilson, 519 U.S. 408, 415 (1997). The total time from when the truck was

initially stopped until the end of this last discussion was less than forty minutes.

       The Court concludes that the investigative detention was reasonable and lasted no longer

than was necessary. The facts uncovered during the investigation created a reasonable suspicion

that Schultz, Scott, and Bronner were engaged in some sort of criminal activity: at minimum, that

Scott and Bronner had provided false information to the deputies. As the situation unfolded,

Deputy Derringer and Deputy Beathard expanded the scope of their investigation accordingly,

but the extent of their investigation did not convert the Terry stop into a custodial detention.

Consequently, Scott’s statements should not be suppressed.

       D.      Schultz’s Motion to Suppress Evidence and Post-Arrest Statements

       Schultz moves to suppress the cocaine seized from his truck. He and the Government

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agree that the resolution of this motion will also resolve the admissibility of his post-arrest

statements.

       Deputy Derringer and Deputy Beathard testified at the April 2, 2009 hearing that they

searched Schultz’s truck incident to his arrest. During post-hearing briefing on the motion,

however, the United States Supreme Court decided Arizona v. Gant, 129 S. Ct. 1710 (2009),

which sharply limited the circumstances under which law enforcement officers may search a

vehicle after arresting an occupant.

               1.      The Gant Decision

       Acting on an informant’s tip, police began investigating Rodney Gant for selling drugs.

Gant, 129 S. Ct. at 1714. A records check showed that his driver’s license was suspended and

that he had an outstanding warrant for that offense. Id. at 1715. The police went to Gant’s

residence, and while they waited for him to arrive, they arrested two other people whom they

placed in separate squad cars. Id. Gant arrived shortly thereafter. Id. He drove his car to the

end of his driveway, parked, and exited. Id. One of the officers called out to Gant and

intercepted him about ten feet from his car. Id. The officer immediately arrested Gant for

driving with a suspended license, handcuffed him, and locked him in a squad car. Id. Two

officers then searched his car incident to the arrest and found cocaine. Id.

       Gant moved to suppress the evidence, arguing that the search-incident-to-arrest exception

did not apply because he presented no threat to the officers and because there was no reason to

believe that evidence of the offense of arrest would be found in his car. Id. The trial court ruled

that the search was permissible incident to Gant’s arrest, but the Arizona Supreme Court

disagreed and found the search unreasonable. Id. The Arizona Supreme Court relied on Chimel

v. California, 395 U.S. 752 (1969), which justifies searches incident to arrest only if necessary to

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protect officer safety or to preserve evidence. Gant, 129 S. Ct. at 1715-16.

        The United States Supreme Court agreed with the Arizona Supreme Court by a slim 5-4

margin, holding that police may search the passenger compartment of a vehicle incident to a

recent occupant’s arrest only if it is reasonable to believe the arrestee could access the vehicle at

the time of the search or that the vehicle contains evidence relevant to the offense of arrest. Id. at

1719. As the Court had explained in Chimel, “the scope of a search incident to arrest [must be]

commensurate with its purposes of protecting arresting officers and safeguarding any evidence of

the offense of arrest that an arrestee might conceal or destroy.” Id. at 1716. Conversely, if there

is no risk that the arrestee could reach into the area to be searched, or no reason to believe the

vehicle contains relevant evidence, then there is no justification to conduct a search incident to

arrest. Id.

        The Court criticized the evolution of law in this area since New York v. Belton, 453 U.S.

454 (1981), was decided. For almost thirty years, most courts have interpreted Belton broadly to

permit vehicle searches incident to arrest even when there is no possibility that an arrestee could

access the car during the search. Id. at 1718-19. The Gant Court found this interpretation too far

removed from Chimel. “[T]he Chimel rationale authorizes police to search a vehicle incident to

a recent occupant’s arrest only when the arrestee is unsecured and within reaching distance of the

passenger compartment at the time of the search.” Id. at 1719. The Court acknowledged, “it will

be the rare case in which an officer is unable to fully effectuate an arrest so that a real possibility

of access to the arrestee’s vehicle remains.” Id. at 1719 n.4.

        The Gant Court then turned to the specific facts before it. Unlike Belton, where one

officer had to manage four unsecured arrestees, the situation in Gant involved five officers and

three arrestees, all of whom had been handcuffed and placed in separate squad cars. Id. at 1719.

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Thus, there was no concern for officer safety. Id. Nor was there a concern for preservation of

evidence, as the offense of arrest was driving under suspension. Id. Accordingly, the search of

Gant’s car incident to his arrest was unreasonable. Id.

       The Court explained that its decision would not foreclose the applicability of other

exceptions to the warrant requirement “when safety or evidentiary concerns demand.” Id. at

1721. The Court mentioned examples such as Michigan v. Long, 463 U.S. 1032 (1983), under

which an officer may search a vehicle after forming a reasonable suspicion that a person is

dangerous and could retrieve a weapon from the vehicle; United States v. Ross, 456 U.S. 798

(1982), which permits searches for evidence of offenses other than the offense of arrest, as long

as probable cause exists; and Maryland v. Buie, 494 U.S. 235 (1990), which authorizes

protective sweeps when an officer believes a dangerous person might be hiding in a house. Id.

               2.     Application of Gant to the Present Facts

       Both Deputy Beathard and Deputy Derringer testified at the first hearing that Schultz’s

truck was searched incident to his arrest for driving with a revoked license. But neither deputy

ever testified that Schultz was within reaching distance of the passenger compartment of the

truck at the time of the search, or that they considered Schultz dangerous, or that they otherwise

feared for their safety. Indeed, Schultz and Bronner had been placed in separate patrol cars at the

time of the search, and the only other person at the scene, Scott, was talking with Deputy

Derringer between the truck and the squad car. It was not reasonable to believe that Schultz,

Scott, or Bronner might access the truck during the search.

       Nor was it reasonable to believe that the truck contained evidence of the offense for

which Schultz was arrested, driving with a revoked license. Deputy Derringer had already

obtained Schultz’s driver’s license and determined it had been revoked. There was nothing

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further to learn about this offense. See Gant, 129 S. Ct. at 1719 (“[W]hen a recent occupant is

arrested for a traffic violation, there will be no reasonable basis to believe the vehicle contains

relevant evidence.”). Accordingly, the Court must conclude, in accordance with Gant, that the

search-incident-to-arrest exception to the warrant requirement cannot apply.

               3.      The Automobile Exception to the Warrant Requirement

       After Gant was issued, the Government shifted its justification for the search of Schultz’s

truck from the incident-to-arrest exception to the automobile exception. Under the automobile

exception to the warrant requirement, an officer may search a vehicle without a warrant if he or

she has “probable cause to believe the vehicle contains evidence of criminal activity.” United

States v. Hill, 386 F.3d 855, 858 (8th Cir. 2004); see also Ross, 456 U.S. at 809. “Probable cause

sufficient to justify a search exists where, in the totality of the circumstances, there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” United

States v. Kennedy, 427 F.3d 1136, 1141 (8th Cir. 2005) (citations omitted). The Government has

the burden to establish the applicability of the exception. Hill, 386 F.3d at 858.

       The Government argues that the deputies had probable cause to believe the truck

contained evidence of drug possession based on the following actions and conduct: (1) Schultz’s

activation of the right blinker when he was pulled over; (2) inconsistent and implausible

information given by Schultz, Bronner, and Scott; (3) the direction of travel from a drug source

city to a smaller community; (4) food and drink in the truck indicative of a long trip; (5)

disparities in age and appearance between Schultz and his two passengers; (6) Schultz’s dirty and

disheveled appearance; (7) the lack of any valid, noncriminal reason for traveling together; (8) a

marked change in Schultz’s demeanor when he was told his truck would be searched; and

(9) Bronner’s excessively nervous behavior.

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       Although many of the enumerated indicators appear innocent in isolation, the Court may

not view each piece of information alone. See United States v. Valle Cruz, 452 F.3d 698, 703

(8th Cir. 2006). Rather, the Court must consider the circumstances as a whole in determining

whether probable cause exists. Id. The Court also considers the training and experience of the

deputies and will accord their inferences due weight. See id.

       The Court concludes that while the totality of the circumstances might support a

reasonable suspicion of some type of criminal activity, it is beyond the pale of probable cause to

believe that Schultz’s truck contained evidence of drug possession, or for that matter, any other

criminal activity. The circumstances here are that Schultz was driving with expired registration

tabs and properly activated his right blinker when pulled over by Deputy Derringer. He had a

drink and food in his truck, and he appeared dirty and disheveled, in contrast to the appearance

of his passengers. Schultz was driving in a westward direction from Eau Claire to Marshfield,

Wisconsin, or in Deputy Beathard’s view, from the drug source cities of Minneapolis and St.

Paul toward Marshfield. When questioned, Schultz’s explanation of his destination and purpose

was internally inconsistent and also varied from that of his passengers.         This was indeed

suspicious and gave Deputy Derringer a reason to expand his investigation. When Schultz was

told his truck would be searched incident to his arrest, he became upset, and Bronner appeared

nervous upon hearing the same information. While the Court recognizes that the deputy’s

suspicions or gut instincts were correct, the Court cannot view the situation in hindsight. These

circumstances, viewed cumulatively at the time of the search, do not create a fair probability that

contraband or evidence of a crime would be found in Schultz’s truck. Suspicion does not equal

probable cause.



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               4.     Other Possible Exceptions

       It does not appear that any other exception to the warrant requirement applies here, nor

has the Government even asserted as much. For example, Michigan v. Long, 463 U.S. 1032

(1983), permits a vehicle search if an officer forms a reasonable suspicion that a person is

dangerous and could retrieve a weapon from the vehicle. But neither Deputy Beathard nor

Deputy Derringer testified to any such suspicion, nor was there any evidence that Schultz, Scott,

or Bronner were dangerous. Further, there was no evidence of exigent circumstances. See

Michigan v. Tyler, 436 U.S. 499, 509 (1978). Finally, the Court briefly considered the inventory

search exception, but no evidence was presented of a standard towing or inventory procedure,

which is required for the exception to apply, see Kennedy, 427 F.3d at 1144.

       5.      Conclusion

       The cocaine seized from Schultz’s truck should be suppressed as against Schultz because

it was seized without a warrant and no exception to the warrant requirement applies. Pursuant to

the parties’ agreement, Schultz’s post-arrest statements should also be suppressed.



       Based on all the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that:

       1.      Defendant Chris Bronner’s Motion for Suppression of Statements (Doc. No. 136)

be terminated as WITHDRAWN.

       2.      Defendant Chris Bronner’s Motion to Exclude Eyewitness Identifications (Doc.

No. 183) be terminated as WITHDRAWN.

       3.      Defendant Fredrick Holmes’ Motion to Suppress Confessions (Doc. No. 248) be

DENIED AS MOOT.

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      4.     Defendant Fredrick Holmes’ Motion to Suppress Evidence Obtained Through

Search (Doc. No. 251) be DENIED AS MOOT.

      5.     Defendant Fredrick Holmes’ Motion to Suppress Search and Seizure Evidence

(Doc. No. 252) be DENIED AS MOOT.

      6.     Defendant Kenneth Hudson’s Motion to Suppress Statements, Admissions, and

Answers (Doc. No. 160) be terminated as WITHDRAWN.

      7.     Defendant Lawrence Porter’s Motion to Suppress All Electronic Surveillance

Evidence and Evidence Derived Therefrom (Doc. No. 143) be DENIED AS MOOT.

      8.     Defendant Donald Schultz’s Motion to Suppress Evidence as a Result of a

Warrantless Vehicle Search (Doc. No. 199) be GRANTED.

      9.     Defendant Donald Schultz’s Motion to Renew Motion to Suppress Warrantless

Automobile Search (Doc. No. 267) be GRANTED.

      10.    Defendant Michael Scott’s Motion for Release from Custody (Doc. No. 140) be

DENIED.

      11.    Defendant Michael Scott’s Motion to Suppress for a Rule 5(a) Violation (Doc.

No. 147) be DENIED.

      12.    Defendant Michael Scott’s Motion to Suppress Statements, Admissions, and

Answers (Doc. No. 150) be DENIED.

      13.    Defendant Michael Scott’s Motion to Dismiss Indictment (Doc. No. 255) be

DENIED.




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        14.     Defendant Michael Scott’s Motion to Suppress Evidence (Doc. No. 262) be

DENIED.



Dated this 29th day of May, 2009.

                                                        s/ Jeanne J. Graham

                                                    JEANNE J. GRAHAM
                                                    United States Magistrate Judge




                                               NOTICE

        Pursuant to District of Minnesota Local Rule 72.2(b), any party may object to this Report

and Recommendation by filing and serving specific, written objections by June 12, 2009. A

party may respond to the objections within ten days after service thereof. Any objections or

responses shall not exceed 3,500 words. The district judge will make a de novo determination of

those portions of the Report and Recommendation to which objection is made. The party

making the objections must timely order and file the transcript of the hearing unless the parties

stipulate that the district judge is not required to review a transcript or if the district judge directs

otherwise.




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